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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NOTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

EMILY EVANS, individually and on
behalf of all others similarly situated,              Case No.

                              Plaintiff,

       v.                                             JURY TRIAL DEMANDED

S.C. JOHNSON & SON, INC. and SUN BUM,
LLC,

                              Defendants.



                                 CLASS ACTION COMPLAINT

       Plaintiff Emily Evans (“Plaintiff”), by and through her attorneys, makes the following

allegations pursuant to the investigation of her counsel and based upon information and belief,

except as to allegations specifically pertaining to herself, which are based on personal knowledge,

against Defendants S.C. Johnson & Son, Inc. (“S.C. Johnson”) and Sun Bum, LLC, (“Sun Bum”)

(collectively, “Defendants”).

                                  NATURE OF THE ACTION

       1.      This is a class action lawsuit regarding Defendants’ manufacturing, distribution,

and sale of Sun Bum brand dry shampoo products (the “Products”) that contain dangerously high

levels of benzene, a carcinogenic impurity that has been linked to leukemia and other cancers.

       2.      These Products are not designed to contain benzene, and in fact no amount of

benzene is acceptable in dry shampoo products such as the Products manufactured, distributed,

and sold by Defendants. Thus, the presence of benzene in the Products renders them adulterated

and misbranded, and therefore illegal to sell under both federal and state law. As a result, the
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Products are unsafe and illegal to sell under federal law, and therefore worthless. See 21 U.S.C.

§§ 331(a), 352; see also Barnes v. Unilever United States Inc., 2022 WL 2915629, at *1-3 (N.D.

Ill. July 24, 2022); Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1085 (11th Cir. 2019);

In re Valsartan, Losartan, & Irbesartan Prod. Liab. Litig., 2021 WL 222776, at *16 (D.N.J. Jan.

22, 2021).

       3.      Further, although Defendants list both active and inactive ingredients on the

Products’ labels, benzene is not among those ingredients listed. Thus, Defendants misrepresent

that the Products do not contain benzene, or otherwise Defendants fail to disclose that the Products

contain benzene. Plaintiff and other Class Members would not have purchased the Products, or

would have paid substantially less for the Products, had Defendants disclosed that the Products

contained or risked containing benzene, or otherwise not misrepresented that the Products did not

contain or were not at risk of containing benzene.

       4.      Benzene is a component of crude oil, gasoline, and cigarette smoke, and is one of

the elementary petrochemicals. The Department of Health and Human Services has determined

that benzene causes cancer in humans. Likewise, the Food and Drug Administration (“FDA”) lists

benzene as a “Class 1 solvent” that “should not be employed in the manufacture of drug substances,

excipients, and drug products because of [its] unacceptable toxicity.” Benzene is associated with

blood cancers such as leukemia.1

       5.      A study from 1939 on benzene stated that “exposure over a long period of time to

any concentration of benzene greater than zero is not safe,”2 which is a comment reiterated in a


1
 National Cancer Institute, Cancer-Causing Substances, Benzene, https://www.cancer.gov/
about-cancer/causes-prevention/risk/substances/benzene.
2
 F.T. Hunter, Chronic Exposure to Benzene (Benzol). II. The Clinical Effects, 21 JOURNAL OF
INDUSTRIAL HYGIENE AND TOXICOLOGY 331 (1939), https://www.cabdirect.org/cabdirect/
abstract/19402700388


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2010 review of benzene research specifically stating: “There is probably no safe level of exposure

to benzene, and all exposures constitute some risk in a linear, if not supralinear, and additive

fashion.”3

       6.      The World Health Organization has stated “[h]uman exposure to benzene has been

associated with a range of acute and long-term adverse health effects and diseases, including

cancer and haematological effects.”4

       7.      According to the American Cancer Society:

               IARC classifies benzene as “carcinogenic to humans,” based on
               sufficient evidence that benzene causes acute myeloid leukemia
               (AML). IARC also notes that benzene exposure has been linked
               with acute lymphocytic leukemia (ALL), chronic lymphocytic
               leukemia (CLL), multiple myeloma, and non-Hodgkin lymphoma.5

       8.      The CDC warns that “[b]enzene works by causing cells not to work correctly. For

example, it can cause bone marrow not to produce enough red blood cells, which can lead to

anemia. Also, it can damage the immune system by changing blood levels of antibodies and

causing the loss of white blood cells.” The CDC also cautions that “[d]irect exposure of the eyes,

skin, or lungs to benzene can cause tissue injury and irritation.”6

       9.      According to the National Institute for Occupational Safety and Health, humans

can become exposed to benzene through “inhalation, skin absorption, ingestion, skin and/or eye



3
 Martyn T. Smith, Advances in Understanding Benzene Health Effects and Susceptibility, 31
ANNUAL REVIEW OF PUBLIC HEALTH 133 (2010), https://www.annualreviews.org/doi/full/
10.1146/annurev.publhealth.012809.103646.
4
 https://www.who.int/teams/environment-climate-change-and-health/chemical-safety-and-
health/health-impacts/chemicals/benzene.
5
 American Cancer Society. Benzene and Cancer Risk (January 5, 2016), https://
www.cancer.org/cancer/cancer-causes/benzene.html.
6
 Centers for Disease Control and Prevention, Facts About Benzene, https://emergency.cdc.gov/
agent/benzene/basics/facts.asp.


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contact.”7

         10.    Due to the substantial harm to humans caused by exposure to chemicals such as

benzene, companies have been founded with the specific goal of preventing defective products,

containing said harmful chemicals, from reaching consumers. Valisure is a company with a core

mission “to independently check the chemical composition of medications and healthcare products

before they reach consumers.”8 In order to do this, Valisure operates an independent analytical

laboratory registered with the FDA and accredited by the International Organization for

Standardization.

         11.    Valisure has tested for specific chemical qualities in numerous types of products,

such as N-Nitrosodimethylamine (“NDMA”) in ranitidine, NDMA in metformin, benzene in hand

sanitizers, benzene in sun care products, and benzene in antiperspirants. Each time, Valisure’s

detection of benzene and other carcinogens has been independently confirmed by industry and led

to recalls by manufacturers over the subject products.

         12.    On October 31, 2022, Valisure tested for benzene in various types of dry shampoos

through utilizing gas chromatography and detection by mass spectrometry (“GC-MS”)

instrumentation that allows mass spectral separation. GC-MS “is generally considered one of the

most accurate analyses available.”9 Indeed, the FDA used the same method to test for impurities

list benzene in hand sanitizers.10


7
 National Institute for Occupational Safety and Health (NIOSH), Benzene, https://www.cdc.gov/
niosh/npg/npgd0049.html (emphasis added).
8
 Valisure, Valisure Detects Benzene in Body Spray Products (November 4, 2021),
https://www.valisure.com/blog/valisure-news/valisure-detects-benzene-in-body-spray-products-
3/.
9
  https://www.element.com/materials-testing-services/chemical-analysis-labs/gcms-analysis-
laboratories.
10
     https://www.fda.gov/media/141501/download.


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          13.       After conducting this testing, Valisure “detected high levels of benzene in specific

batches of certain dry shampoo products.”11

          14.       Valisure tested the Sun Bum Products manufactured and sold by Defendants, which

were found to contain as much as 30 parts per million (“ppm”) of benzene12:

                                                              First         Second          Third
                                                             Spray           Spray          Spray
     Brand           UPC            Lot     Description
                                                            Benzene         Benzene        Benzene
                                                             (ppm)           (ppm)          (ppm)

                                              Beach
                                             Formula
     Sun
                  871760001824    21056        Dry
     Bum                                                       30.4           26.6            28.3
                                            Shampoo –
                                              4.2 oz

          15.       The FDA does state that if the use of benzene is “unavoidable in order to produce

a drug product with a significant therapeutic advance,” then the drug product may contain up to 2

ppm of benzene.13 However, Defendants’ Products contain levels of benzene above this amount.

Regardless, the Products are not designed to contain benzene, as dry shampoo products have long

been sold without any sort of benzene contamination. Moreover, according to Valisure, “the dry

shampoos tested are not drugs and contain no active pharmaceutical ingredient for therapeutic

purpose; therefore, any significant detection of benzene could be deemed unacceptable.”14

          16.       “Furthermore, Valisure shows data from the analysis of benzene by directly



11
  VALISURE, VALISURE CITIZEN PETITION ON BENZENE IN DRY SHAMPOO PRODUCTS, Oct. 31,
2022, https://assets-global.website-files.com/6215052733f8bb8fea016220/
6360f7f49903987d8f4f4309_Valisure%20FDA%20Citizen%20Petition%20on%20Benzene%20i
n%20Dry%20Shampoo%20Products_103122.pdf (the “Valisure Petition”), at 1.
12
     Id. at 13.
13
     Id. at 2 (emphasis added).
14
     Id. (emphasis added).


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sampling contaminated air after spraying dry shampoo products, which suggests potential for

short- and long-term inhalation exposure to high levels of benzene. The presence of this known

human carcinogen in dry shampoo products that are regularly used indoors and in large volumes

makes this finding especially troubling.”15

            17.   In addition, Valisure tested multiple other brands of dry shampoo products, several

of which were found to be “below the lower limit of quantitation,”16 demonstrating that the

Products could have been manufactured without the use of benzene. Accordingly, any level of

benzene in Defendants’ Products is unacceptable and renders the Products adulterated,

misbranded, unsafe, and worthless.

            18.   Defendants did not disclose the actual or potential presence of benzene in its dry

shampoo products on the Products’ labeling, advertising, marketing, or sale of the Products.

            19.   Dry shampoos are considered cosmetics that are regulated by the United States

Food & Drug Administration (“FDA”) pursuant to the federal Food, Drug and Cosmetics Act

(“FDCA”), 21 U.S.C. § 301 et seq., as well as analogous state statutes and regulations. The FDCA

prohibits the distribution of cosmetics which are adulterated or misbranded. A cosmetic is

considered adulterated “if it bears or contains any poisonous or deleterious substance which may

render it injurious to users under the conditions of use prescribed in the labeling thereof, or under

such conditions of use as are customary or usual.” 21 U.S.C. § 361(a).

            20.   A cosmetic is also adulterated “[i]f it has been prepared, packed, or held under

insanitary conditions whereby it may have become contaminated with filth, or whereby it may

have been rendered injurious to health.” 21 U.S.C. § 361(c).



15
     Id.
16
     Id. at 17


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       21.     A cosmetic is misbranded if “its labeling is false or misleading in any particular,”

and if its packaging does not bear “a label containing … an accurate statement of the quantity of

the contents in terms of weight, measure, or numerical count.” 21 U.S.C. §§ 362(a)-(b)(2).

Further, as cosmetics regulated by the FDA, the Products must “bear a warning statement

whenever necessary or appropriate to prevent a health hazard that may be associated with the

product.” 21 C.F.R. § 740.1(a).

       22.     Any cosmetic product that is adulterated or misbranded is illegal to sell. 21

U.S.C. § 331(a). Adulterated and misbranded products thus have no economic value and are

legally worthless.

       23.     The Illinois Food, Drug and Cosmetic Act (“IL FDCA”) has expressly adopted

the federal labeling requirements as its own. The definition of “adulterated” as defined by 410

ILCS 620/14 is exactly the same as the FDCA.

       24.     The presence of benzene renders the Products adulterated and misbranded. As

alleged above, benzene is a poisonous and deleterious substance that has been linked to cancer

and is dangerous at any level. The Products were also manufactured in such an insanitary way

that they became contaminated with benzene. Thus, the Products are adulterated.

       25.     The Products’ labeling also failed to disclose the existence of benzene in the

Products, and the ingredients section of the Products’ labeling does not list “benzene” as an

ingredient. Further, the Products’ labeling does not disclose the presence of benzene, even though

a warning statement concerning benzene is necessary or appropriate to prevent a health hazard. 21

C.F.R. § 740.1(a). Therefore, the Products are also “misbranded.”

       26.     As a manufacturer, distributor, and seller of cosmetics products, Defendants have

a duty to ensure its Products did not contain excessive (or any) levels of benzene, including through




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regular testing. But based on Valisure’s testing results set forth above, Defendants made no

reasonable effort to test its Products for benzene or other impurities. Nor did it disclose to Plaintiff

or any other consumers in any product advertising, labeling, packaging, or marketing that its dry

shampoo Products contained benzene, in some instances many multiples beyond the emergency

interim limit set by the FDA. To the contrary, Defendants represented and warranted, expressly

and impliedly, that the Products were safe and effective for their intended use, were of

merchantable quality, complied with federal and state law, and did not contain carcinogens,

reproductive toxins, or other impurities such as benzene.

       27.     If Defendants had fulfilled its quality assurance obligations, Defendants would

have identified the presence of the benzene contaminant almost immediately.

       28.     Further, had Defendants adequately tested its Products for benzene and other

carcinogens, reproductive toxins, and impurities, it would have discovered the Products contained

benzene at levels above the FDA’s limit (to the extent even applicable), making those products

ineligible for distribution, marketing, and sale.

       29.     Accordingly, Defendants knowingly, or at least negligently, introduced

contaminated, adulterated, and/or misbranded Products containing dangerous amounts of benzene

into the U.S. market.

       30.     Defendants also knew or should have known about the carcinogenic potential of

benzene because benzene is classified as a Group 1 compound by the World Health Organization

and the International Agency for Research on Cancer, meaning that it is “carcinogenic to humans.”

In addition, in the last year, numerous manufacturers have issued recalls of their products due to

the presence of benzene. Defendants should therefore have been on high alert to test its Products

for the presence of benzene.




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         31.   When Plaintiff purchased Defendants’ Products, Plaintiff did not know, and had no

reason to know, that Defendants’ Products were adulterated and misbranded and thus unlawful to

sell as set forth herein. Not only would Plaintiff not have purchased Defendants’ Products at all

had she known the Products contained or risked containing benzene, she would not have been

capable of purchasing them if Defendants had done as the law required and tested the Products for

benzene and other carcinogens, reproductive toxins, and impurities, because the Products would

have been deemed adulterated and misbranded, and therefore illegal to sell.

         32.   Moreover, no reasonable consumer would have paid any amount for products

containing benzene, a known carcinogen and reproductive toxin, much less above the limits set by

the FDA (even assuming those allowances apply to Defendants’ products).

         33.   Thus, if Plaintiff and Class members had been informed that Defendants’ Products

contained or may contain benzene, they would not have purchased or used the Products at all, or

would have paid significantly less for the Products, making such omitted facts material to them.

         34.   Plaintiff and Class members were injured by the full purchase price of the Products

because the Products are worthless, as they are adulterated and misbranded due to the presence of

harmful levels of benzene. Such illegally sold products are worthless and have no value. See

Barnes v. Unilever United States Inc., 2022 WL 2915629, at *1-3 (N.D. Ill. July 24, 2022);

Debernardis v. IQ Formulations, LLC, 942 F.3d 1076, 1085 (11th Cir. 2019); see also In re

Valsartan, Losartan, & Irbesartan Prod. Liab. Litig., 2021 WL 222776, at *16 (D.N.J. Jan. 22,

2021).

         35.   Further, Plaintiff and Class Members bargained for a dry shampoo product free of

contaminants and dangerous substances, and were deprived the basis of their bargain when

Defendants manufactured and sold them products containing or at risk of containing the dangerous




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substance benzene. Had Defendants not misrepresented that the Products did not contain or were

not at risk of containing benzene, and/or had Defendants not failed to disclose that the Products

contained or were at risk of containing benzene, Plaintiff and Class Members would not have

purchased the Products or would not have paid as much for the Products based on these

misrepresentations or omissions.

       36.     Plaintiff and Class members are entitled to damages for the monies paid to purchase

the Products, statutory and punitive damages, attorneys’ fees and costs, and injunctive relief.

       37.     Plaintiff brings this action on behalf of herself and the Class for equitable relief and

to recover damages and restitution for: (i) violation of the Illinois Consumer Fraud and Deceptive

Trade Practices Act (“ICFA”) 815 ILCS 505/1, et seq.; (ii) fraud; (iii) unjust enrichment, and (iv)

violations of the state consumer fraud acts.

                                               PARTIES

       38.     Plaintiff Emily Evans is a resident of Chicago, Illinois and has an intent to remain

there, and is therefore a citizen of Illinois. In or about August 2022, Ms. Evans purchased a canister

of Defendants’ Sun Bum Beach Formula Dry Shampoo Original from a CVS in Chicago, Illinois.

When purchasing the product, Ms. Evans reviewed the accompanying labels and disclosures, and

understood them as representations and warranties by the Defendants that the product was properly

manufactured, free from defects, safe for its intended use, not adulterated or misbranded, and legal

to sell. Ms. Evans relied on these representations and warranties in deciding to purchase the

product manufactured and sold by Defendants, and these representations and warranties were part

of the basis of the bargain, in that she would not have purchased the product from Defendants if

she had known that it was not, in fact, properly manufactured, free from defects, safe for its

intended use, adulterated and misbranded, and legal to sell. The Sun Bum Beach Formula dry




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shampoo product Ms. Evans purchased was contaminated with benzene, therefore rendering it

improperly manufactured, defective, not safe for its intended use, adulterated and misbranded, and

illegal to sell. Thus, Ms. Evans was injured in two ways by Defendants. First, Ms. Evans

purchased an adulterated and misbranded product that was illegally sold to her, and therefore

worthless. Second, Ms. Evans was deceived by Defendants’ representations and omissions

regarding the presence of benzene in the Product.

        39.     Defendant S.C. Johnson is a Wisconsin corporation with its principal place of

business located in Racine, Wisconsin. Defendant S.C. Johnson manufactures, markets, and sells

Sun Bum brand dry shampoo products throughout the State of Illinois and the United States.

Including in both retail establishments and online.

        40.     Defendant Sun Bum, LLC is a Michigan limited liability company with its principal

place of business located in Encinitas, California. Defendant Sun Bum manufactures, markets,

and sells its dry shampoo products throughout the State of Illinois and the United States. Including

in both retail establishments and online.

                                 JURISIDICTION AND VENUE

        41.     This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §

1332(d)(2)(A), as modified by the Class Action Fairness Act of 2005, because at least one member

of the Class, as defined below, is a citizen of a different state than Defendants, there are more than

100 members of the Class, and the aggregate amount in controversy exceeds $5,000,000 exclusive

of interest and costs.

        42.     This Court has personal jurisdiction over Defendants because Plaintiff purchased

the Products in this District.

        43.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because a substantial




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part of the events or omissions giving rise to the claim occurred within this District, Defendants

have marketed, advertised, and sold the Products in this District, and Defendants have caused harm

to Plaintiff and other Class members in this District.

                              CLASS ACTION ALLEGATIONS

       44.     Plaintiff seeks to represent a class defined as all persons in the United States who

purchased the Products for personal or household use within any applicable limitations period (the

“Class”).

       45.     Plaintiff also seeks to represent a subclass of all Class Members who purchased the

Products for personal or household use in Illinois within any applicable limitations period (the

“Illinois Subclass”).

       46.     Plaintiff also seeks to represent a subclass of all Class Members who purchased the

Products for personal or household use in California, Florida, Illinois, Massachusetts, Michigan,

Minnesota, Missouri, New Jersey, New York, or Washington within any applicable limitations

period (the “Consumer Fraud Multi-State Subclass”).17

       47.     The Class and Subclasses are collectively referred to as the “Classes.”

       48.     Subject to additional information obtained through further investigation and

discovery, the foregoing definitions of the Classes may be expanded or narrowed by amendment

to the complaint or narrowed at class certification.

       49.     Specifically excluded from the Classes are Defendants, Defendants’ officers,


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   While discovery may alter the following, the states in the Consumer Fraud Multi-State Class
are limited to those states with similar consumer fraud laws under the facts of this case:
California (Cal. Bus. & Prof. Code § 17200, et seq.); Florida (Fla. Stat. § 501.201, et seq.);
Illinois (815 Ill. Comp. Stat. 505/1, et seq.); Massachusetts (Mass. Gen. Laws Ch. 93A, et seq.);
Michigan (Mich. Comp. Laws § 445.901, et seq.); Minnesota (Minn. Stat. § 325F.67, et seq.);
Missouri (Mo. Rev. Stat. § 407.010, et seq.); New Jersey (N.J. Stat. § 56:8-1, et seq.); New York
(N.Y. Gen. Bus. Law §§ 349 and 350); and Washington (Wash. Rev. Code § 19.86.010, et seq.).


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directors, agents, trustees, parents, children, corporations, trusts, representatives, employees,

principals, servants, partners, joint ventures, or entities controlled by Defendants, and their heirs,

successors, assigns, or other persons or entities related to or affiliated with Defendants and/or

Defendants’ officers and/or directors, the judge assigned to this action, and any member of the

judge’s immediate family.

       50.     Numerosity. The members of the proposed Classes are geographically dispersed

throughout the United States and are so numerous that individual joinder is impracticable. Upon

information and belief, Plaintiff reasonably estimates that there are hundreds of thousands of

individuals that are members of the proposed Classes. Although the precise number of proposed

members are unknown to Plaintiff, the true number of members of the Classes are known by

Defendants. Members of the Classes may be notified of the pendency of this action by mail and/or

publication through the distribution and sales records of Defendants and third-party retailers and

vendors.

       51.     Typicality. The claims of the representative Plaintiff are typical of the claims of

the Classes in that the representative Plaintiff, like all members of the Classes, purchased the

Products, which were worthless due to the presence of benzene, a harmful and carcinogenic

chemical impurity. The representative Plaintiff, like all members of the Classes, has been damaged

by Defendants’ misconduct in the very same way as the members of the Classes. Further, the

factual bases of Defendants’ misconduct are common to all members of the Classes and represent

a common thread of misconduct resulting in injury to all members of the Classes.

       52.     Existence and predominance of common questions of law and fact. Common

questions of law and fact exist as to all members of the Classes and predominate over any questions

affecting only individual members of the Classes. These common legal and factual questions




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include, but are not limited to, the following:

             (a)   whether Defendants knew or should have known the Products contained

                   or were at risk of containing elevated levels of benzene prior to selling

                   them, thereby constituting fraud and/or fraudulent concealment;

             (b)   whether Defendants are liable to Plaintiff and the Classes for unjust

                   enrichment;

             (c)   whether Defendants are liable to Plaintiff and the Classes for fraud;

             (d)   whether Plaintiff and the Classes have sustained monetary loss and the

                   proper measure of that loss;

             (e)   whether Plaintiff and the Classes are entitled to declaratory and

                   injunctive relief;

             (f)   whether Plaintiff and the Classes are entitled to restitution and

                   disgorgement from Defendants; and

             (g)   whether the marketing, advertising, packaging, labeling, and other

                   promotional materials for the Products are deceptive.

       53.     Adequacy of Representation. Plaintiff will fairly and adequately protect the

interests of the Classes. Plaintiff has retained counsel who are highly experienced in complex

consumer class action litigation, and Plaintiff intends to vigorously prosecute this action on behalf

of the Classes. Plaintiff has no interests that are antagonistic to those of the Classes.

       54.     Superiority. A class action is superior to all other available means for the fair and

efficient adjudication of this controversy. The damages or other financial detriment suffered by

members of the Classes are relatively small compared to the burden and expense of individual

litigation of her claims against Defendants. It would, thus, be virtually impossible for members of




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the Classes, on an individual basis, to obtain effective redress for the wrongs committed against

them. Furthermore, even if members of the Classes could afford such individualized litigation,

the court system could not. Individualized litigation would create the danger of inconsistent or

contradictory judgments arising from the same set of facts. Individualized litigation would also

increase the delay and expense to all parties and the court system from the issues raised by this

action. By contrast, the class action device provides the benefits of adjudication of these issues in

a single proceeding, economies of scale, and comprehensive supervision by a single court, and

presents no unusual management difficulties under the circumstances.

        55.     In the alternative, the Classes may be certified because:

                (a)     the prosecution of separate actions by individual members of the
                        Classes would create a risk of inconsistent or varying adjudication
                        with respect to individual members of the Classes that would
                        establish incompatible standards of conduct for the Defendants;

                (b)     the prosecution of separate actions by individual members of the
                        Classes would create a risk of adjudications with respect to them
                        that would, as a practical matter, be dispositive of the interests of
                        other members of the Classes not parties to the adjudications, or
                        substantially impair or impede her ability to protect her interests;
                        and/or

                (c)     Defendants have acted or refused to act on grounds generally
                        applicable to the Classes as a whole, thereby making appropriate
                        final declaratory and/or injunctive relief with respect to the members
                        of the Class as a whole.

                                      CAUSES OF ACTION

                                          COUNT I
        Violation of the Illinois Consumer Fraud and Deceptive Trade Practices Act
                                    815 ILCS 505/1, et seq.
                       (On Behalf of Plaintiff and the Illinois Subclass)

        56.     Plaintiff incorporates by reference the allegations contained in the paragraphs

above as if fully set forth herein.




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       57.     Plaintiff brings this claim individually and on behalf of the members of the

proposed Illinois Subclass against Defendants.

       58.     Plaintiff and other Illinois Subclass Members are persons within the context of the

Illinois Consumer Fraud and Deceptive Trade Practices Act (“ICFA”), 815 ILCS 505/1(c).

       59.     Defendants are each a person within the context of the ICFA, 815 ILCS 505/1(c).

       60.     At all times relevant hereto, Defendants were engaged in trade or commerce as

defined under the ICFA, 815 ILCS 505/1(f).

       61.     Plaintiff and the proposed Illinois Subclass are “consumers” who purchased the

Products for personal, family or household use within the meaning of the ICFA, 815 ILCS

505/1(e).

       62.     The ICFA does not apply to “[a]ctions or transactions specifically authorized by

laws administered by any regulatory body or officer of this State or the United States.” 815 ILCS

505/10b(1).

       63.     The FDCA prohibits introduction into interstate commerce “of any food, drug, or

cosmetic that is adulterated or misbranded.” 21 U.S.C. § 331(a).

       64.     As the Products are adulterated and misbranded, the FDCA specifically prohibits

their introduction into interstate commerce, and thus, actions under the ICFA related to the

Products being adulterated and misbranded are not barred by 815 ILCS 505/10b(1).

       65.     The ICFA prohibits engaging in any “unfair or deceptive acts or practices … in the

conduct of any trade or commerce.” ICFA, 815 ILCS 505/2.

       66.     The ICFA prohibits any deceptive, unlawful, unfair, or fraudulent business acts or

practices including using deception, fraud, false pretenses, false promises, false advertising,

misrepresentation, or the concealment, suppression, or omission of any material fact, or the use or




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employment of any practice described in Section 2 of the Uniform Deceptive Trade Practices Act

(“UDTPA”). 815 ILCS § 505/2.

       67.     Plaintiff and the other Illinois Subclass Members reasonably relied upon

Defendants’ representation that the Products were safe for personal use and, due to Defendants’

omission of the presence of benzene in the Products, Plaintiff read and relied on Defendants’

labeling to conclude that the Products were not contaminated with any dangerous substance,

including benzene.

       68.     Defendants’ conduct, as described herein, took place within the State of Illinois and

constitutes unfair or deceptive acts or practices in the course of trade and commerce, in violation

of 815 ICFA 505/1, et seq.

       69.     Defendants engaged in unfair conduct in violation of the ICFA, including but not

limited to selling adulterated and misbranded products in violation of the FDCA and IL FDCA.

Barnes v. Unilever United States Inc., 2022 WL 2915629, at *3 (N.D. Ill. July 24, 2022).

       70.     Defendants engaged in deceptive conduct, including but not limited to

misrepresenting that the Products did not contain or did not risk containing benzene, and failing to

disclose that the Products contained or risked containing benzene.

       71.     Defendants violated the ICFA by representing that the Products have characteristics

or benefits that they do not have. 815 ILCS § 505/2; 815 ILCS § 510/2(7).

       72.     Defendants advertised the Products with intent not to sell them as advertised, in

violation of 815 ILCS § 505/2 and 815 ILCS § 510/2(9).

       73.     Defendants engaged in fraudulent and/or deceptive conduct which creates a

likelihood of confusion or of misunderstanding in violation of 815 ILCS § 505/2; 815 ILCS

§ 510/2(3).




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       74.      Prior to placing the Products into the stream of commerce and into the hands of

consumers to use on their bodies, Defendants knew or should have known that the Products

contained benzene, but Defendants not only failed to properly test and quality-check its Products,

but further misrepresented, omitted, and concealed this fact to consumers, including Plaintiff and

Illinois Subclass Members, by not including benzene or the risk of benzene contamination on the

Products’ labels or otherwise warning about its presence.

       75.      Defendants intended that Plaintiff and each of the other Illinois Subclass Members

would reasonably rely upon the misrepresentations, misleading characterizations, warranties and

material omissions concerning the true nature of the Products.

       76.      Given Defendants’ position in the health and beauty market as an industry leader,

Plaintiff and reasonable consumers trusted and relied on Defendants’ representations and

omissions regarding the presence of benzene in the Products.

       77.      Defendants’ misrepresentations, concealment, omissions, and other deceptive

conduct were likely to deceive and cause misunderstanding and/or in fact caused Plaintiff and each

of the other Illinois Subclass Members to be deceived about the true nature of the Products.

       78.      Plaintiff and Illinois Subclass Members have been damaged as a proximate result

of Defendants’ unfair and deceptive violations of the ICFA and have suffered damages as a direct

and proximate result of purchasing the Products.

       79.      As a direct and proximate result of Defendants’ violations of the ICFA, as set forth

above, Plaintiff and the Illinois Subclass Members have suffered ascertainable losses of money

caused by Defendants’ unfair conduct of selling adulterated, misbranded, and illegally sold

Products, and its misrepresentations and material omissions regarding the presence of benzene in

the Products.




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          80.   Had they been aware of the true nature of the Products, Plaintiff and the Illinois

Subclass Members either would have paid less for the Products or would not have purchased them

at all.

          81.   Based on Defendants’ unfair and/or deceptive acts or practices, Plaintiff and the

Illinois Subclass Members are therefore entitled to relief, including restitution, actual damages,

treble damages, punitive damages, costs, and attorneys’ fees, under 815 ILCS 505/10a.

                                           COUNT II
                                             Fraud
                             (On Behalf of Plaintiff and the Classes)

          82.   Plaintiff incorporates by reference the allegations contained in the paragraphs

above as if fully set forth herein.

          83.   Plaintiff brings this claim individually and on behalf of the members of the Classes

against Defendants.

          84.   Defendants made fraudulent misrepresentations and omissions to Plaintiff and

members of the Classes regarding the Products, specifically that the Products contained only the

active and inactive ingredients stated on the label, and not harmful impurities such as benzene.

Defendants also materially omitted facts from Plaintiff and members of the Classes, including that

the Products in fact contained (or risked containing) harmful levels of benzene.

          85.   Defendants had a duty to disclose material facts to Plaintiff and the Classes given

that Plaintiff and the Classes were the intended users of the Products. Defendants also had a duty

to disclose material facts to Plaintiff and the Classes, namely that it was in fact manufacturing,

distributing, and selling harmful products unfit for human use, because Defendants had superior

knowledge such that the transactions without the disclosure were rendered inherently unfair.

          86.   Defendants knew or should have known that the Products were contaminated with




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benzene, but continued to manufacture, distribute, and sell them nonetheless. Defendants were

required to engage in impurity testing to ensure that harmful impurities such as benzene were not

present in the Products. Had Defendants undertaken proper testing measures, it would have been

aware that the Products contained dangerously high levels of benzene. During this time, Plaintiff

and members of the Classes were using the Products without knowledge that the Products

contained dangerous levels of benzene.

        87.     Defendants failed to discharge its duty to disclose these material facts.

        88.     In so failing to disclose these material facts to Plaintiff and the Classes, Defendants

intended to hide from Plaintiff and the Classes that they were purchasing and using the Products

with harmful defects that were unfit for human use, and thus acted with scienter and/or an intent

to defraud.

        89.     Plaintiff and the Classes reasonably relied on Defendants’ failure to disclose insofar

as they would not have purchased the defective Products manufactured and sold by Defendants

had they known the Products contained unsafe levels of benzene.

        90.     As a direct and proximate cause of Defendants’ fraudulent concealment, Plaintiff

and the Classes suffered damages in the amount of monies paid for the defective Products.

        91.     As a result of Defendants’ willful and malicious conduct, punitive damages are

warranted.

                                          COUNT III
                                     Unjust Enrichment
                             (On Behalf of Plaintiff and the Classes)

        92.     Plaintiff incorporates by reference the allegations contained in the paragraphs

above as if fully set forth herein.

        93.     Plaintiff brings this claim individually and on behalf of the members of the Classes




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against Defendants.

        94.      This claim is brought under the laws of the State of Illinois.

        95.      Plaintiff and the Classes conferred a benefit on Defendants in the form of monies

paid to purchase Defendants’ defective and worthless Products.

        96.      Defendants voluntarily accepted and retained this benefit.

        97.      Because this benefit was obtained unlawfully, namely by selling and accepting

compensation for products unfit for human use, it would be unjust and inequitable for Defendants

to retain the benefit without paying the value thereof.

                                            COUNT IV
                             Violation of State Consumer Fraud Acts
              (On Behalf of Plaintiff and the Consumer Fraud Multi-State Subclass)

        98.      Plaintiff incorporates by reference the allegations contained in the paragraphs

above as if fully set forth herein.

        99.      Plaintiff brings this claim individually and on behalf of the members of the

Consumer Fraud Multi-State Subclass against Defendants.

        100.     The Consumer Fraud Acts of the States in the Consumer Fraud Multi-State

Subclass prohibit the use of unfair or deceptive business practices in the conduct of trade or

commerce.

        101.     Plaintiff and Consumer Fraud Multi-State Subclass Members have standing to

pursue a cause of action for violation of the Consumer Fraud Acts of the states in the Consumer

Fraud Multi-State Subclass because Plaintiff and Consumer Fraud Multi-State Subclass Members

have suffered an injury in fact and lost money as a result of Defendants’ actions set forth herein.

        102.     Defendants engaged in unfair conduct, including but not limited to selling

adulterated and misbranded products in violation of the FDCA.




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       103.    Defendants engaged in deceptive conduct, including but not limited to

misrepresenting that the Products did not contain or did not risk containing benzene, and failing to

disclose that the Products contained or risked containing benzene.

       104.    Defendants intended that Plaintiff and Consumer Fraud Multi-State Subclass

Members would rely upon its unfair and deceptive conduct and a reasonable person would in fact

be misled by this deceptive conduct described above.

       105.    Given Defendants’ position in the health and beauty market as an industry leader,

Plaintiff and reasonable consumers trusted and relied on Defendants’ representations and

omissions regarding the presence of benzene in the Products.

       106.    As a result of Defendants’ use or employment of unfair or deceptive acts or business

practices, Plaintiff and Consumer Fraud Multi-State Subclass Members have sustained damages

in an amount to be proven at trial.

       107.    In addition, Defendants’ conduct showed malice, motive, and the reckless disregard

of the truth such that an award of punitive damages is appropriate.

                                      PRAYER FOR RELIEF

       WHEREFORE, Plaintiff respectfully requests, individually and on behalf of the alleged

Classes, that the Court enter judgment in her favor and against Defendants as follows:

               (a)     For an order certifying the Classes under Rule 23 of the Federal
                       Rules of Civil Procedure, naming Plaintiff as the representative for
                       the Classes, and naming Plaintiff’s attorneys as Class Counsel to
                       represent the Classes;

               (b)     For an order declaring that Defendants’ conduct violates the causes
                       of action referenced herein;

               (c)     For an order finding in favor of Plaintiff and the Classes on all
                       counts asserted herein;

               (d)     For compensatory, statutory, and punitive damages in amounts to be


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                        determined by the Court and/or jury;

                (e)     For prejudgment interest on all amounts awarded;

                (f)     For an order of restitution and all other forms of equitable monetary
                        relief;

                (g)     For injunctive relief as pleaded or as the Court may deem proper;
                        and

                (h)     For an order awarding Plaintiff and the Classes her reasonable
                        attorneys’ fees and expenses and costs of suit.

                                   DEMAND FOR JURY TRIAL

       Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiff demands a trial by jury of any

and all issues in this action so triable as of right.

Dated: November 14, 2022                         Respectfully Submitted,

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